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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

 UNITED STATES SECURITIES AND
 EXCHANGE COMMISSION,

                       Plaintiff,
        v.                                             Civil Action No. 3:15-cv-675 (JBA)

 IFTIKAR AHMED,

                       Defendant, and                  July 27TH, 2022

 IFTIKAR AHMED SOLE PROP; et al

                       Relief Defendants.


   DEFENDANT’S JOINDER TO RELIEF DEFENDANTS’ OPPOSITION TO OAK’S
     MOTION TO LIFT LITIGATION STAY AND PRELIMINARY INJUNCTION

       The pro se Defendant joins the Relief Defendants’ Opposition to Oak’s Motion to Lift

Litigation Stay and Preliminary Injunction [Doc. #2281, or the “Opposition”] to the extent that it

does not conflict with the Defendant’s currently pending motions before the Court.

       The Defendant has issued a subpoena to Oak and respectfully requests the Court allow him

to respond further once he has received and reviewed the Oak/NMRE settlement agreement, and

with more time allowed for the appropriate research.

       The pro se Defendant reserves all rights.




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                                          Respectfully Submitted,



Dated: July 27TH, 2022                    /s/ Iftikar Ahmed
                                          ____________________________
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                                          Pro Se




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                               CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing document was filed through the ECF system
and will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF), and served by electronic mail to:




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